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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

Liz Gomez, Marissa Sanchez,                     §
Felicia McKinney, Jacquelyn Aluotto,            §
and Jassmine Huff,                              §
       Plaintiffs                               §
                                                §
v.                                              §      Civil Action No.4:21-cv-01698
                                                §
Harris County, Texas;                           §      (Jury Demanded)
Alan Rosen, in his individual capacity,         §
Chris Gore, in his individual capacity,         §
Shane Rigdon, in his individual capacity        §
                                                §
       Defendants                               §


                        PLAINTIFFS’ NOTICE OF APPEAL


       Plaintiffs Liz Gomez, Marissa Sanchez, Felicia McKinney, Jacquelyn Aluotto, and

Jassmine Huff appeal to the United States Court of Appeals for the Fifth Circuit to the

District Court’s Order entered on August 30, 2021, identified as Docket No. 29 that

granted Defendant Alan Rosen’s motion to dismiss all counts Plaintiff’s First Amended

Petition in his individual capacity.

       This appeal is authorized under the Collateral Order Doctrine. Plaintiffs Liz

Gomez, Marissa Sanchez, Felicia McKinney, Jacquelyn Aluotto, and Jassmine Huff will

be the appellants in the appeal.
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                                    Respectfully submitted,

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                             CERTIFICATE OF SERVICE

      I hereby certify that on August 12, 2021, I electronically filed the foregoing

document with using the CM/ECF system, and a copy of this filing has been forwarded

to all counsel of record in accordance with the ECF local rules.

                                        /s/ William R. Ogden
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